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                                   IN THE UNITED STATES DISTRICT COURT

                                    FOR THE EASTERN DISTRICT OF TEXAS

                                                       TYLER DIVISION

 UNITED STATES OF AMERICA                                          §

 Vs.                                                               §   CRIMINAL ACTION NO. 6:09CR18

 ERIC FERNANDO REYES                                               §

                                      REPORT AND RECOMMENDATION
                                   OF UNITED STATES MAGISTRATE JUDGE


           On July 15, 2009, the Court referred ancillary forfeiture proceedings in the above-styled case

 to the undersigned. Specifically, the Court referred: (1) D-1 CAPITAL, LP’S Petition Claiming

 an Interest in Property (document #136); (2) John Ealba’s Petition Claiming Interest in Property

 (document #170);1 (3) Erika Reyes’s Petition Claiming Interest in Property (document #171); (4)

 Erika Reyes’s Petition Claiming Interest in Property (document #172); (5) Brenda Griego’s Petition

 Claiming Interest in Property (document #173); (6) Evangelina Serrato’s Petition Claiming Interest

 in Property (document #174); and (7) Victor Dominguez’s Petition Claiming Interest in Property

 (document #175). These ancillary forfeiture proceedings were referred to the undersigned for a

 hearing and proposed findings of fact and recommendations as to their disposition. On October 27,

 2009, the Government filed a Motion in Response to Ancillary Petitions of Victor Dominguez and

 D-1 Capital, LP (document #220), seeking to dismiss the 2001 black Kaufman AC trailer, VIN



           1
          John Ealba’s Petition Claiming Interest in Property (document #170) was disposed of on
 July 30, 2009 when the United States of America’s Motion in Response was granted and the
 1964 Red Chevrolet Impala Show Car, VIN 41847U136666; License Plate TKC53D was
 dismissed from the Preliminary Order of Forfeiture and released to the Claimant, John Ealba.

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 15XFW50331L000535, License Plate 87ZYKC, from the previously entered Preliminary Order of

 Forfeiture.

           In this case, Victor Dominguez and D-1 Capital, LP, provided supporting documentation with

 their claims appearing to establish Dominguez as the registered owner of the Kaufman trailer that

 is subject to the preliminary order of forfeiture and D-1 Capital, LP as the lien holder. The

 Government filed a motion seeking to dismiss the 2001 black Kaufman AC trailer, VIN

 15XFW50331L000535, License Plate 87ZYKC, from the previously entered Preliminary Order of

 Forfeiture. The United States does not contest the ancillary petitions filed on behalf of Victor

 Dominguez and D-1 Capital, LP, in connection with the Kaufman trailer. Neither Dominguez nor

 D-1 Capital, LP filed a response to the motion.

                                                        Recommendation

           It is recommended that the Government’s Motion in Response to Ancillary Petitions of

 Victor Dominguez and D-1 Capital, LP (document #220) be granted. It is further recommended that

 the 2001 black Kaufman AC trailer, VIN 15XFW50331L000535, License Plate 87ZYKC be

 dismissed from the previously entered Preliminary Order of Forfeiture and that the U.S. Marshal be

 ordered to release the Kaufman trailer to the registered owner, Victor Dominguez.

           Within ten (10) days after receipt of the magistrate judge's report, any party may serve and

 file written objections to the findings and recommendations of the magistrate judge.

           A party’s failure to file written objections to the findings, conclusions and recommendations

 contained in this Report within ten days after service shall bar that party from de novo review by the

 district judge of those findings, conclusions and recommendations and, except upon grounds of plain




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 error, from attacking on appeal the unobjected-to proposed factual findings and legal conclusions

 accepted and adopted by the district court. Douglass v. United Services Auto. Assn., 79 F.3d 1415,

 1430 (5th Cir. 1996) (en banc).


                So ORDERED and SIGNED this 18 day of November, 2009.



                                                                   ____________________________
                                                                   JUDITH K. GUTHRIE
                                                                   UNITED STATES MAGISTRATE JUDGE




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